Case 2:05-Cr-20075-BBD Document 54 Filed 07/20/05 Page 1 of 2_ Page|D 57

 

IN THE UNITED sTATEs DISTRICT coURT HLED 13va ga
FOR THE wESTERN DISTRICT oF TENNESSEE
WESTERN DIVISION 05 JU|_ 20 ph w 33
UNITED sTATEs oF AMERICA, US.£`.A§WCTOQM
W GF I.='\:-, sams
vs. No. 05-20075-Ma

RITA WILLIAMSON,

Defendant.

 

ORDER CONDITIONALLY WAIVING APPEARANCE AT REPORT DA'I‘E

 

On July 20, 2005, counsel for defendant Rita Williamson,
filed a motion to waive the appearance of the defendant at the
report date scheduled on July 22, 2005. For good cause shown,
the motion is granted and the appearance of the defendant is
waived on the condition that counsel file with the court a
written waiver signed by the defendant. Upon its receipt,
counsel shall immediately file the required written waiver.

It is so ORDERED this 1L`Hgday of July, 2005.

JA(//M/r__

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

This decL ment entered on the docket set in c piian
with R.¢le 55 and!or 32!b) FHCrP on __M" "

   

UNITED sATE DISTRICT CoUR - WTERN DISTRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 54 in
case 2:05-CR-20075 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

